Case 4:24-cv-00213-P             Document 149        Filed 04/14/25       Page 1 of 6   PageID 3717



                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION


    CHAMBER OF COMMERCE OF
    THE UNITED STATES OF
    AMERICA; FORT WORTH
    CHAMBER OF COMMERCE;
    LONGVIEW CHAMBER OF
    COMMERCE; AMERICAN
    BANKERS ASSOCIATION;
    CONSUMER BANKERS
    ASSOCIATION; and TEXAS
    ASSOCIATION OF BUSINESS,

         Plaintiffs,

    v.                                                    Case No.: 4:24-cv-213-P

    CONSUMER FINANCIAL PROTECTION
    BUREAU; and RUSSELL VOUGHT, in his
    official capacity as Acting Director of the
    Consumer Financial Protection Bureau,

         Defendants.


                       JOINT MOTION FOR ENTRY OF CONSENT JUDGMENT

            Defendants the Consumer Financial Protection Bureau and Russell Vought (collectively,

the Bureau) and Plaintiffs 1 jointly move for (i) the entry of a consent judgment as to one claim

contained in Count II of the Complaint (ECF 1) and (ii) dismissal of all other claims in the

complaint with prejudice, including those contained in Counts I, III, IV, and V.

            In support of this motion, the parties state the following:




1
 Chamber of Commerce of the United States of America, Fort Worth Chamber of Commerce;
Long View Chamber of Commerce; American Bankers Association; Consumer Bankers
Association; and Texas Association of Business.

                                                      1
Case 4:24-cv-00213-P      Document 149         Filed 04/14/25       Page 2 of 6      PageID 3718



      1. On March 15, 2024, the Bureau issued a final rule on credit card late fees. See Credit

         Card Penalty Fees (Regulation Z), 89 Fed. Reg. 19128 (Mar. 15, 2024) (Late Fee

         Rule or Rule). The Late Fee Rule repealed the then-existing safe harbor for a fee

         amount presumed to be “reasonable and proportional” to the late payment, under the

         Credit Card Accountability and Disclosure Act (the CARD Act), 15 U.S.C.

         § 1665d(a), and adopted a new, lower safe harbor amount. Id. at 19155.

      2. Plaintiffs sued. Their Complaint raises five counts, including Count II, which alleges,

         in relevant part, that “[b]y repealing the old safe harbor . . . and not allowing issuers

         to charge fees [under the safe harbor provision] that sufficiently account for

         deterrence or consumer conduct, including with respect to repeat violations, the Final

         Rule violates the express requirements of the CARD Act.” Compl., ¶ 89.

      3. In its December 6, 2024, Opinion & Order—which addressed whether to continue an

         earlier preliminary injunction—this Court agreed that the “Final Rule … prevents

         card issuers from actually imposing penalty fees”, as Plaintiffs’ alleged in paragraph

         89 of their complaint. ECF No. 128, at 9-12. Specifically, the Court held that

         Plaintiffs “maintain a strong likelihood of success on the merits” because the “Final

         Rule violates the statutory authority granted to the CFPB under the CARD Act” by

         failing to adequately account for deterrence in calculating the amount of the safe

         harbor fee. Id. at 12.

      4. The parties agree that, in the Late Fee Rule, the Bureau violated the CARD Act by

         failing to allow card issuers to “charge penalty fees reasonable and proportional to

         violations,” as set out by the Court, Opinion and Order, at 9-12. Thus, the Late Fee




                                               2
Case 4:24-cv-00213-P      Document 149         Filed 04/14/25       Page 3 of 6      PageID 3719



         Rule is contrary to law, in violation of the Administrative Procedure Act, 5 U.S.C. §

         706(2).

      5. In this Circuit, when an agency action is contrary to law, the “‘default rule is that

         vacatur is the appropriate remedy.’” Restaurant Law Ctr. v. Dep't of Labor, 120

         F.4th 163, 177 (5th Cir. 2024) (quoting Data Mktg. P'ship, LP v. U.S. Dep't of Lab.,

         45 F.4th 846, 859 (5th Cir. 2022)); see also Braidwood Mgmt., Inc. v. Becerra, 104

         F.4th 930, 952 (5th Cir. 2024); Chamber of Com. of the U.S. v. U.S. Sec. & Exch.

         Comm'n, 88 F.4th 1115, 1118 (5th Cir. 2023). The parties agree that the default rule

         applies in this case because the Bureau could not rectify the defect in the Late Fee

         Rule on a remand to the agency. See Restaurant Law Ctr., 120 F.4th at 177.

      6. Accordingly, the parties request that the Court enter a final judgment vacating the

         Late Fee Rule, for “prevent[ing] card issuers from actually imposing penalty fees,” as

         stated in the Court’s Opinion & Order, at 9-12.

      7. The parties request that the Court dismiss the remaining claims, including Counts I,

         III, IV, V, with prejudice. The parties agree that such dismissal would not in any way

         foreclose constitutional or statutory challenges to other Bureau regulations, and the

         Bureau will not argue issue or claim preclusion forecloses such a future challenge.

      8. Plaintiffs and Defendants will bear their own costs and fees.



DATED: April 14, 2025                               Respectfully Submitted,

                                                    MARK PAOLETTA
                                                    Chief Legal Officer

                                                    VICTORIA DORFMAN
                                                    Senior Legal Advisor


                                                3
Case 4:24-cv-00213-P   Document 149   Filed 04/14/25     Page 4 of 6       PageID 3720



                                          STEVEN Y. BRESSLER
                                          Deputy General Counsel

                                          /s/ Joseph Frisone
                                          JOSEPH FRISONE (Pro Hac Vice)
                                          Senior Counsel
                                          Va. Bar No. 90728
                                          Consumer Financial Protection Bureau
                                          1700 G St. NW
                                          Washington, D.C. 20552
                                          Joseph.Frisone@cfpb.gov
                                          (202) 435-9287
                                          (202) 435-7024 (fax)

                                          Counsel for Defendants the Consumer
                                          Financial Protection Bureau and Russell
                                          Vought

                                          /s/ Michael Murray
                                          Michael Murray (Pro Hac Vice)
                                          D.C. Bar No. 1001680
                                          michaelmurray@paulhastings.com
                                          T. Benton York (Pro Hac Vice)
                                          D.C. Bar No. 230580
                                          bentonyork@paulhastings.com
                                          PAUL HASTINGS LLP
                                          2050 M Street NW
                                          Washington, DC 20036
                                          (202) 551-1730

                                          Philip Vickers
                                          Texas Bar No. 24051699
                                          pvickers@canteyhanger.com
                                          Derek Carson
                                          Texas Bar No. 24085240
                                          dcarson@canteyhanger.com
                                          CANTEY HANGER LLP
                                          600 West 6th Street, Suite 300
                                          Fort Worth, TX 76102
                                          (817) 877-2800

                                          Attorneys for Plaintiffs

                                          Thomas Pinder (Pro Hac Vice)
                                          D.C. Bar No. 451114
                                          tpinder@aba.com

                                      4
Case 4:24-cv-00213-P   Document 149   Filed 04/14/25   Page 5 of 6     PageID 3721



                                          Andrew Doersam (Pro Hac Vice)
                                          D.C. Bar No. 1779883
                                          adoersam@aba.com
                                          AMERICAN BANKERS ASSOCIATION
                                          1333 New Hampshire Ave. NW
                                          Washington, DC 20036

                                          Attorneys for Plaintiff American Bankers
                                          Association

                                          Jennifer B. Dickey (Pro Hac Vice)
                                          D.C. Bar No. 1017247
                                          jdickey@uschamber.com
                                          Maria C. Monaghan (Pro Hac Vice)
                                          D.C. Bar No. 90002227
                                          mmonaghan@uschamber.com
                                          U.S. CHAMBER LITIGATION CENTER
                                          1615 H Street NW
                                          Washington, DC 20062

                                          Attorneys for Plaintiff Chamber of
                                          Commerce of the United States of America




                                      5
Case 4:24-cv-00213-P       Document 149        Filed 04/14/25      Page 6 of 6     PageID 3722



                               CERTIFICATE OF SERVICE

       I hereby certify that on April 14, 2025, a true and correct copy of this document was

served electronically by the Court’s CM/ECF system to all counsel of record.


                                                    /s/ Joseph Frisone
                                                    JOSEPH FRISONE
